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EXHIBIT 2

 

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RACHEL GoRDoN,
Plaintiff,

_Case No. CJ-

m2013--3>015’)

VS.

PROGRESSIVE CORPORATION
dba PROGRESSIVE DIREC'I` INSURANCE COMPANY
an Ohio Corporation

' Defendant,

-\.._/\_J\ml \-_J‘~_(.J\-_¢'\._¢'Mr‘
€m.¢

PE'I`ITION

COMBS NOW the Plaintifi`, Rachel Gordon, by and_through her attorney of record, Mikel
W; Flores, and for her causes of action against the Defendant, Progressive Corporation, aka
_Progressive Direct lnsurance Company (hereinafter Progressiye) , alleges and states as follows:

1 . Plaintiff, Raehel Gordon is a resident of Oklahorna County, State of Oklahoma.

2 . Defendant, Progressive is an Ohio corporation doing business in the State of
Oklahorna under the name ofProgressive Direct lnsurance Company.

3 . That on or about the 20th day of March 2013, on a public street-in Oklahorna County,
State of Oklahoma, known as North Roclcwell Avenue and Northwest Expressway,
Plaintiff was hit bya vehicle dn`ven by Bn'ttany Breisch.

4 . That the collision and resulting physical damage to the Plaintiff, Rachel Gordon was
caused by the negligence of Brittany Breisch in that she failed to exercise due care in

operating her vehicle and disregarding a traffic signal light

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. Plaintiff, Rachel Gordon- sustained actual damages to her person.-

 

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6 . Brittany Breisch’s insurance company Liberty Mutual Insurance Comp_any paid out
l her policy limits in the amount of 350,000.00, releasing her from any liability

7. Defendant Progressive, has an uninsured/underinsured motorist policy, number
5304142?-0, covering Plaintiff and members of her household at the time of the
accident

8. That as a direct result of the negligence of the underinsured driver, the Plaintiff’s
claims exceeded any and all underlying liability limits.

9. 'I'hat under the contractual terms of the uninsured/underinsured motorist coverage
contract, the Defendant, Progressive Direct lnsurance Company, is liable for all of
Plainti_ffs’ damages exceeding the underlying liability limits of the tortfeasor, Brittany

Breisch under the household UM policy.

CAUSE OF ACTION
COMES NOW the Plaintiff, Rachel Gordon, by and through her attorney of record,'
Mikel W. Flores, and for her cause of action, adopts and incorporates all previous allegations

against the Defendant, Progressive,_ and alleges and states as follows:

10. That the Defendant Progressive, as an insurer has -a duty to deal fairly and in good
faith with its first party insureds

ll. That the Plaintiff, Rachel Gordon, at all material times mentioned herein was a first
party insured with the Defendant, Progressive.

12. That the Defendant, Progressive, failed to deal fairly with the Plaintiff, Rachel

Gordon, and such acts amounted-to acts of bad faith on the part of the Defendant,

 

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Progressive, as follows:
a. That the Defendant, Progressive, intentionally and willfully caused delay
in the recovery of benefits due and owing under the uninsured/underinsured
motorist contract',
b. That the Defendant, Progressive, intentionally failed to fully disclose
and/or knowingly concealed benefits, coverage, or other provisions of
insurance policy/contract to the Plaintiff when such benefits, coverage or
provisions were pertinent to the claim;
c. That the Defendant, Progressive, failed to acknowledge with reasonable
promptness pertinent communications with respect to claims arising under its
policy;
d. That the Defendant, Progressive, failed to adopt and implement reasonable
l standards for prompt investigation of claims arising under its policy.

13. That the acts of the Defendant were willful, wanton and intentional and, therefore, we
asl< the Court for an amount in excess of $75,000.00 in punitive damages plus interest
set at the statutory level, for costs of this action, attorney fees, and for all other relief
as the Court may deem just and proper;

14. That as a result of the Defendant’s acts of bad faith, the Plaintiff has incurred,
and will incur mental and physical pain and suffering and has incurred, and will incur
financial hardship as a result of the Defendant’s acts of bad faith, all in an amount in

excess of $75,000.00.

l WHEREFORE, the Plaintiff, Rachel Gordon, prays judgment against the Defendant,

 

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Progressive, in an amount in excess of $75,000.00, for actual damages and an amount-in excess

of $75,000.00 in punitive damages, plus interest set at the statutory level, for costs of this action,

attorney fees, and for all other relief as the Court may deem just and proper.

AT'I`ORNEYS LIEN CLAIMED

Respectfully submitted,
Mikel Flores & Associates, P. C.

J_l.!

 

   
     

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VERIFICATION
STATE OF OKLAHOMA ' _ ) ss:
OKLA_HOMA COUNTY )

7 Rachel Gordon, of lawful age, being duly sworn and upon oath states: That she is the
Plaintiff in the above foregoing Petition and is familiar with the contents thereof; and that to the
best of her knowledge and belief, the matters therein set forth are true and correct.

Qarlrail”%wmlnw

Rachel Gordon

Suhscribed and sworn before me this Qi`§‘\f day 2013,by Rachel Gordon

My Commission Expires: l mm 11 jj CZ%'D

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